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                               EXHIBIT 2
 Case 1:19-cv-00659-WES-PAS Document 19-4 Filed 12/31/19 Page 2 of 2 PageID #: 407
Case NiAnber: PC-2Q1_9-1134')
Filed in P!)-aseclaoavnti9a59A/VES-PAS         Document 6-3 Filed 12/20/19 Page 48 of 48 PagelD #: 167
Submitted: 11/25/2019 11:42 AM
Envelope: 2357478
Reviewer: Bob Q



                                                                                  Invesco Distributors, Inc.
                                                                                  225 Liberty Street
                                                                                  New York, NY 10281

                                                                                  Via overnight courier



             October 31, 2019
             Ksenia Yudina
             Chief Executive Officer
             U-Nest Holdings LLC
             2920 West Olive Avenue
             Burbank, CA 91505
             Re: Notice of Termination — Agreement for Recommending 529 Plan Securities
             Ms. Yuclina:
            This letter serves as a notice of termination of the Agreement for Recommending 529 Plan Securities
            dated May 7, 2018 by and between U-Nest Holdings LLC and Invesco Distributors, Inc. (the
            "Agfeement"). U-Nest Holdings LLC used the Invesco name in its marketing materials, including its
            website and digital application description, without the advance written consent of Invesco Distributors,
            I nc. as required under Section 4 of the Agreement. In accordance with Sections 6(b) and 9 of the
            Agreement, termination is effective November 30, 2019.


             Sincerely,




             Ronald Murphy
             Senior Director College Savings
             Invesco Distributors, Inc.
